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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE AMERICAN HOSPITAL                 )
ASSOCIATION, et al.,                  )
                                      )
                  Plaintiffs,         )
      v.                              )                 No. 1:18-cv-02112-JDB
THE DEPARTMENT OF HEALTH              )
AND HUMAN SERVICES, et al.,           )
                                      )
                  Defendants.         )
_____________________________________ )


                                    MOTION FOR A STAY

       Defendants hereby request that the Court (1) stay this case pending the outcome of the U.S.

Department of Health and Human Services’ planned rulemaking that may moot the case or limit

the issues to be decided by the Court, or in the alternative, (2) stay briefing of plaintiffs’ early

summary judgment motion pending resolution of defendants’ planned motion to dismiss. A

memorandum of points and authorities in support of this motion is attached.




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Date: October 15, 2018                Respectfully submitted,

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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE AMERICAN HOSPITAL                 )
ASSOCIATION, et al.,                  )
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                  Plaintiffs,         )
      v.                              )                No. 1:18-cv-02112-JDB
THE DEPARTMENT OF HEALTH              )
AND HUMAN SERVICES, et al.,           )
                                      )
                  Defendants.         )
_____________________________________ )


      MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR A STAY

       Defendants – the U.S. Department of Health and Human Services (“HHS”) and HHS

Secretary Alex M. Azar II, in his official capacity – hereby move for a stay of this Administrative

Procedure Act (“APA”) case pending the outcome of a rulemaking that may moot the case or

significantly narrow the issues to be decided by the Court. In the alternative, defendants ask that

the Court stay the deadline to respond to plaintiffs’ early summary judgment motion (filed

simultaneously with the Complaint) pending resolution of defendants’ planned motion to dismiss,

which is due on November 13, 2018. A stay of the summary judgment briefing will ensure that

defendants have sufficient time to first respond to the Complaint, including to raise any potential

threshold defenses under Rule 12, in a case in which no motion for a preliminary injunction has

been or could be filed claiming any irreparable injury. Defendants’ summary judgment response

is currently due October 15, 2018.1 Plaintiffs oppose this motion.




1
 Defendants are filing this motion on the deadline for their response to the summary judgment
motion because, until Friday, October 12, 2018, the parties attempted unsuccessfully to negotiate
ways to potentially obviate the need for contested briefing (in light of the Agency’s intent to
conduct rulemaking on the precise issue raised in this case).
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                                         BACKGROUND

          Congress created a program by which certain hospitals, community health centers and other

federally funded entities serving low-income patients could receive drug discounts. The program

is commonly known as the 340B Program, because it was created by section 340B of the Public

Health Service Act. Drug manufacturers must offer their drugs for sale through the 340B Program

in order to have their drugs covered through the separate Medicaid program. 42 U.S.C. 1396r-

8(a)(1); 42 U.S.C. 256b(a). The 340B Program operates on a quarterly basis, i.e., changes to prices

and other conditions occur at the beginning of every quarter (January 1, April 1, July 1, and

October 1). 42 U.S.C. 256b(a) (indicating pricing is done on a quarterly basis); 77 Fed. Reg.

43342, 43343 (July 24, 2012) (indicating registration of covered entities is done on a quarterly

basis).

          Congress modified the 340B Program in the Patient Protection and Affordable Care Act of

2010, Pub. L. 111-148, 124 Stat. 119 (March 23, 2010) (“Affordable Care Act”), 124 Stat. at 823-

25 (codified at 42 U.S.C. § 256b(d)). More specifically, it instructed the Secretary of the

Department to, among other things, “develop[ ] and publish[ ] through an appropriate policy or

regulatory issuance, precisely defined standards and methodology for the calculation of ceiling

prices [i.e., the highest price that can be charged for a drug under the 340B Program],” and

“impos[e] . . . sanctions in the form of civil monetary penalties which . . . shall be assessed

according to standards established in regulations promulgated by the Secretary.”      42 U.S.C. §

256b(d).

          On January 5, 2017, the Department issued a Final Rule, with an effective date of March

6, 2017, to satisfy this statutory directive. 340B Drug Pricing Program Ceiling Price and

Manufacturer Civil Monetary Penalties Regulation, 82 Fed. Reg. 1,210 (Jan. 5, 2017) (the “340B



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Drug Pricing Rule”). The effective date of the Final 340B Rule has been delayed a handful of

times over the ensuing 21 months, most recently to July 1, 2019. 340B Drug Pricing Program

Ceiling Price and Manufacturer Civil Monetary Penalties Regulation, 83 Fed. Reg. 25,943, 25,945

(June 5, 2018).

       On September 11, 2018, plaintiffs – entities that purportedly participate in the 340B

Program and associations with members who are such entities – filed a complaint alleging that

the most recent delay is arbitrary and capricious under 5 U.S.C. § 706(2), and that HHS has

“unlawfully withheld or unreasonably delayed” agency action under 5 U.S.C. § 706(1).

Compl.¶¶ 57-62, ECF No. 1. Plaintiffs filed their summary judgment motion on the same day.

See ECF No. 2. Plaintiffs did not file a motion for a preliminary injunction. Nor had they

challenged in court any of the other delays in the preceding 21 months. After receiving a 17-day

extension of time from the court, Minute Order, September 26, 2018, Defendants’ response to

Plaintiffs’ summary judgment motion is now due October 15, 2018, but their response to the

Complaint is not due until November 13, 2018, Fed. R. Civ. P. 12(a)(2).

                                         ARGUMENT

       The Court should exercise its inherent authority to control its docket to stay this case

pending the outcome of an expected rulemaking2 that could moot this case or narrow the issues to

be resolved. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (holding that court has the inherent

authority to “control the disposition of the causes on its docket with economy of time and effort

for itself, for counsel, and for litigants”). HHS intends to issue a notice of proposed rulemaking




2
 Indeed, the proposed rule currently appears on the website of the Office of Management and
Budget, which is a precursor to publication in the Federal Register for public comment. See:
https://www.reginfo.gov/public/do/eoDetails?rrid=128548 (last visited Oct. 15, 2018).


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by November 1, 2018, which will propose that the 340B Drug Pricing Rule take effect January 1,

2019, rather than July 1, 2019.3 This is the earliest that the 340B Drug Pricing Rule could take

effect as a practical matter, given that program is designed for changes to take place at the

beginning of a quarter, rather than in the middle of a quarter, and that the next quarter starts January

1.

        Implementing the 340B Pricing Rule by January 1 would effectively provide plaintiffs with

all of the relief they have sought in their Complaint, see Compl. at 19, ¶ B. (seeking as relief “[a]n

order directing Defendants, within 30 days after judgement, to make the Final 340B Rule

effective’), and thereby moot the case, Schmidt v. United States, 749 F.3d 1064, 1068 (D.C. Cir.

2014) (stating that a case is moot when “the court can provide no effective remedy because a party

has already obtained all the relief that it has sought”) (brackets and quotations omitted). Even if

there were lingering disputes after the 340B Pricing Rule goes into effect, the issues before the

Court would be narrower, as the Court would not have to decide, for example, whether the

challenged rule delaying implementation of the 340B Pricing Rule until July 1, 2019 was

warranted or not.

        In the alternative, the Court should stay the deadline to respond to plaintiffs’ early summary

judgment motion until it resolves defendants’ planned motion to dismiss.

        Nothing in Rule 56 requires the parties and the Court to press forward with a summary

judgment motion prior to defendants’ having a fair opportunity to respond to the Complaint. To

the contrary, while it is true that Federal Rules of Civil Procedure permit the filing of early

summary judgment motions, the Advisory Committee notes for Rule 56 encourage courts to issue



3
 Of course, HHS will not know the substance of the final rule until it has reviewed and
considered the comments that might be submitted.


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orders that will prevent the premature briefing of summary judgment motions filed at the

commencement of a case: “Although the rule allows a motion for summary judgment to be filed

at the commencement of an action, in many cases the motion will be premature until the

nonmovant has had time to file a responsive pleading or other pretrial proceedings have been had.

Scheduling orders or other pretrial orders can regulate timing to fit the needs of the case.” Fed. R.

Civ. P. 56 advisory committee’s note (2010 amendments).

       Indeed, Rule 12(b) “promotes the early and simultaneous presentation and determination

of preliminary defenses.” 5B Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1349

(3d ed. 2004). Adjudicating motions under Rule 12(b) thus helps to streamline the case by ensuring

that “all available Rule 12 defenses are advanced before the consideration of the merits,” George

Wash. Univ. v. DIAD, Inc., No. CIV. A. 96-301-LFO, 1996 WL 470363, at *1 (D.D.C. Aug. 9,

1996), and to “produce an overall savings in time and resources as well as avoid delay in the

disposition of cases, thereby benefiting both the parties and the courts.” Wright & Miller, § 1349;

see also Furniture Brands Int’l, Inc. v. U.S. Int’l Trade Comm’n, 2011 WL 10959877, at *1

(D.D.C. Apr. 8, 2011), at *1 (Bates, J.) (“[S]uspending briefing of the summary judgment motion

[pending resolution of defendants’ 12(b)(1) motion to dismiss] will allow the Court to manage the

orderly disposition of this case.”). Plaintiffs should not be permitted to preempt defendants’ rights

under Rule 12 by filing a premature summary judgment motion.

       For these reasons, district courts routinely defer consideration of motions for summary

judgment while dispositive motions to dismiss remain pending. See, e.g., Furniture Brands Int’l,

Inc., 2011 WL 10959877, at *1 (“[S]taying further briefing of the plaintiff’s summary judgment

motion will allow the parties to avoid the unnecessary expense, the undue burden, and the

expenditure of time to brief a motion that the Court may not decide.”); Freedom Watch, Inc. v.



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Dep’t of State, 925 F. Supp. 2d 55, 59 (D.D.C. 2013) (“Not needing more lawyers to spend more

time on more briefs on more subjects in order to decide the motion to dismiss, the Court granted

the motion to stay [summary judgment briefing.]”); Baginski v. Lynch, 229 F. Supp. 3d 48, 57

(D.D.C. 2017) (noting that it had “deferred” consideration of plaintiff’s motion for summary

judgment “until it was able to assess the government’s motion to dismiss”); Montgomery v. IRS,

No. 17-cv-918 (D.D.C. Nov. 6, 2017), Min. Order (staying summary judgment briefing until after

resolution of threshold issues); Cierco v. Lew, 190 F. Supp. 3d 16, 21 (D.D.C. 2016), aff’d on other

grounds sub nom. Cierco v. Mnuchin, 857 F.3d 407(D.C. Cir. 2017) (same); Daniels v. United

States, 947 F. Supp. 2d 11, 15 (D.D.C. 2013) (noting that court stayed summary judgment briefing

pending its ruling on motion to dismiss); Angulo v. Gray, 907 F. Supp. 2d 107, 109 (D.D.C. 2012)

(same); Magritz v. Ozaukee Cty., 894 F. Supp. 2d 34, 37 (D.D.C. 2012) (same); Ticor Title Ins.

Co. v. FTC, 625 F. Supp. 747, 749 n.2 (D.D.C. 1986), aff’d, 814 F.2d 731 (D.C. Cir. 1987) (holding

in abeyance plaintiff’s motion for summary judgment “pending resolution of threshold questions

of jurisdiction and justiciability”).

        Absent a stay, plaintiffs’ summary judgment motion would be an ersatz motion for

emergency relief, but one that did not need to meet the stringent requirements for obtaining such

extraordinary relief under Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). Indeed,

plaintiffs could not establish the prerequisites for emergency relief for a number of reasons,

including that they could not demonstrate irreparable harm, having filed this suit over 18 months

after HHS’s first delay of implementation and about three months after the most recent one. Davis

v. D.C. Child & Family Servs. Agency, 2014 WL 12802260, at *1 (D.D.C. Aug. 19, 2014) (delay

weighs against irreparable harm); Mylan Pharm., Inc. v. Shalala, 81 F. Supp. 2d 30, 44 (D.D.C.

2000) (noting a two-month delay before seeking a preliminary injunction “militates against a



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finding of irreparable harm”). In short, there is no reason to treat plaintiffs’ summary judgment

motion as a “preliminary-injunction lite,” and defendants accordingly request that the Court order

that summary judgment briefing be stayed pending resolution of defendants’ planned motion to

dismiss.

                                        CONCLUSION

       For the reasons stated above, the Court should: (1) stay this case pending the outcome of

HHS’s planned rulemaking that may moot the case or limit the issues to be decided by the Court,

or in the alternative, (2) stay briefing of plaintiffs’ early summary judgment motion pending

resolution of defendants’ planned motion to dismiss.



 Date: October 15, 2018                         Respectfully submitted,

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